Case 1:05-cv-01152-.]DT-STA Document 8 Filed 08/17/05 Page 1 of 2 Page|D 13

 

l°/V

. ¢ ¢ ,` ;`:;,'-__ _ 31

Umted States Dlstrlct Court b §§ § G,W "9
WESTERN DISTRICT oF TENNESSEE ’ff'/rj:/?cr¢§

Eastern Division ’ 4 OV$OVLW
JUI)GMENT IN A ClvlL CASE

DENNIS CROCKETT,

V.

DANA SPAULDING, ETAL., CASE NU|V|BER: 1:05-1152-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 8/12/2005, this case is hereby D|SM|SSED in its entirety,
pursuant to 42 U.S.C. § 1997 e(a). |t is also CERT|F|ED that any Appea| by plaintiff is
not taken in good faith. The plaintiff is instructed that if he wishes to take advantage of
the installment procedures for paying the appellate filing fee, he must comply with the
procedures set out in |Vchore and § 1915(a)-(b).

APPROVED:

 

 

UN ED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
@i)"`ll®$ BY: C-
DATE ' ‘ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ru|e 58 andfor 79(3) FRCP on §;J l %! ©§ .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01152 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Dennis Crockett

Whiteville Correctional Facility
35 1268

PO Box 679

Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

